                       Case 2:15-cr-00118-KJM  Document
                                    IN THE UNITED STATES 79 Filed 05/19/16
                                                         DISTRICT  COURT Page 1 of 1
                                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                  Plaintiff,

                          v.                                CR NO: 2:15-0118 GEB

DAVID WILLIAM DIXON

                                 Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:        David William Dixon
Detained at              San Joaquin County Jail
Detainee is:             a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                   charging detainee with: 18:1956(h) Conspiracy to Launder Monetary Instruments
                  or     b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:           a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or     b.)      ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility

                         Appearance is necessary FORTHWITH in the Eastern District of California.

                         Signature:                               /s/Paul A. Hemesath
                         Printed Name & Phone No:                 PAUL A. HEMESATH 916-554-2932
                         Attorney of Record for:                  United States of America

                                               WRIT OF HABEAS CORPUS
                               ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated:      May 18, 2016                                   /s/ Kendall J. Newman
                                                           Honorable Kendall J. Newman
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                   ☒Male      ☐Female
Booking or CDC #:         16-06239                                                           DOB:       02/21/1979
Facility Address:         999 W. Mathews Rd.. French Camp CA                                 Race:
Facility Phone:           209-468-4570                                                       FBI#:
Currently

                                                     RETURN OF SERVICE
Executed on:
                                                               (signature)
